
61 So. 3d 481 (2011)
Eugene DOUSE, Jr., Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-2148.
District Court of Appeal of Florida, Fourth District.
May 18, 2011.
Eugene Douse, Jr., Bowling Green, pro se.
No appearance required for appellee.
PER CURIAM.
Affirmed, without prejudice to appellant filing a Rule 3.800(a) motion which alleges where in the record the information regarding jail time can be located and explains how the record demonstrates entitlement to that relief. See Thompkins v. State, 3 So. 3d 438 (Fla. 4th DCA 2009); Toro v. State, 719 So. 2d 947, 948 (Fla. 4th DCA 1998).
POLEN, MAY and CONNER, JJ., concur.
